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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               CIVIL MINUTE ORDER

Case No.: 17-cv-05702-JCS               Case Name: Karimi v. Golden Gate School of Law
Chief Magistrate Judge: JOSEPH          Date: July 13, 2018         Time: 20 M
C. SPERO

Attorney for Plaintiff: No Appearance
Attorney for Defendant: Stacey Leask (CourtCall)

Deputy Clerk: Karen Hom                               Court Reporter: Not Reported

                                       PROCEEDINGS

1. Further Case Management Conference – Held

                               ORDERED AFTER HEARING

Hearing on the discipline proceeding is postponed until after the settlement conference.

CASE CONTINUED TO:                   at 2:00 PM for a case management conference.

REFERRALS:

[ ] Case referred to ADR for to occur within .
[ ] Case referred to (random) Magistrate Judge for a SETTLEMENT CONFERENCE to occur
within, or as is convenient to the judge's calendar.
[X] Case referred to Magistrate Judge Donna Ryu, in Oakland, for a SETTLEMENT
CONFERENCE to occur in October 2018 or as is convenient to the judge's calendar. All parties
must attend the settlement conference in person.

PRETRIAL SCHEDULE:
Initial Disclosures:
Number of Depos:
Discovery Cutoff: 01/31/19
Expert Disclosure:
Expert Rebuttal:
Expert Discovery Cutoff:
Motion Filing Deadline: 2/15/19
Motions Hearing & Daubert Motions:           at 9:30 AM
Pretrial Conference:             at 2:00 PM
Trial:            at 8:30 AM for      days  [ ] Jury [ ] Court

Order to be prepared by:
[ ] Plaintiff    [ ] Defendant            [X] Court
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cc: Ivy, MagRef
